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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               :
                                       :      No. 3:24-CR-158
           v.                          :
                                       :      (Munley, J.)
JAMES MAHON IV and                     :
JOEL GILLICK,                          :
                Defendants             :

    CONSENT MOTION FOR ENTRY OF PROTECTIVE ORDER

     COMES NOW the United States of America, by its undersigned

counsel, and hereby moves for a consent protective order governing the

use and disclosure of discovery in this matter pursuant to Federal Rule

16(d)(1) and Title 26, United States Code, Section 6103(h)(4)(D). In

preparation for potential pretrial motions and an anticipated jury trial

scheduled in the matter, the United States will provide discovery

materials to the defendants. The Government is producing these

materials in compliance with various requirements. See Fed. R. Crim. P.

16; Brady v. Maryland, 373 U.S. 83, 87 (1963); Giglio v. United States,

405 U.S. 150, 154 (1972); 18 U.S.C. § 3500; Fed. R. Crim. P. 26.2.

     Discovery in this case is voluminous and contains sensitive

information, including extensive personal identifying information (“PII”)

of third parties, such as social security numbers; employer or taxpayer
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identification numbers; dates of birth; official state, federal, or

government-issued driver’s license or identification numbers; alien

registration numbers; passport numbers; account numbers; account

access/authorization codes; and/or other means of identification and

account access. The forthcoming discovery also may include federal tax

information.

     Furthermore, the United States and the defendants acknowledge

that disclosure of discovery material containing PII, federal tax

information, or other sensitive information not in connection with the

prosecution and defense of the pending criminal charges would be highly

detrimental to the privacy interests of the individuals to whom such

information belongs.   Likewise, the United States also is constrained by

the provisions of Title 26, United States Code, Section 6103 in disclosing

federal tax information.

     In light of the foregoing, the Government seeks to comply promptly

and efficiently with its discovery requirements, and it is likewise the

desire of the defendants to obtain discovery materials as quickly and

efficiently as possible while respecting the interests of third parties.

Because of the large volume of information to be produced by the


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Government, redaction of sensitive information, including PII, victim

identities, and federal tax information, would not only be unduly

burdensome on the Government, but would also prevent the Government

from meeting the parties’ shared goal of prompt and efficient compliance

with various discovery requirements.

     Rule 16 provides that “the court may, for good cause, deny, restrict,

or defer discovery or inspection, or grant other appropriate relief.” Fed.

R. Crim. P. 16(d)(1). “Good cause . . . generally signifies a sound basis or

legitimate need to take judicial action.” In re Alexander Grant & Co.

Litig., 820 F.2d 352, 356 (11th Cir. 1987). “A district court has broad

discretion when fashioning protective orders.” Id at 357. “[T]he trial court

can and should, where appropriate, place a defendant and his counsel

under enforceable orders against unwarranted disclosure of the

materials which they may be entitled to inspect.” Alderman v. United

States, 394 U.S. 165, 185 (1969). In doing so, the court should seek to

ensure that disclosure of discovery materials to a defendant “involve[s] a

minimum hazard to others.” Id.

     Title 26, United States Code, Section 6103(h)(4)(D) permits the

disclosure of federal tax returns and return information in federal


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judicial proceedings pertaining to tax administration “to the extent

required by order of a court pursuant to section 3500 of title 18, United

States Code, or rule 16 of the Federal Rules of Criminal Procedure, such

court being authorized in the issuance of such order to give due

consideration to congressional policy favoring the confidentiality of

returns and return information as set forth in this title.”

     Courts have consistently recognized the importance of protective

orders in safeguarding the personal information and privacy interests of

third parties. See United States v. Luchko, 2007 WL 1651139, at *7–8

(E.D. Pa. June 6, 2007) (unpublished) (finding good cause to enter a

protective order to “protect[] the privacy interests of uncharged persons,

promote[] the government’s policy of open discovery and prevent[]

unnecessary disclosure of investigative techniques.”); see also United

States v. Smith, 602 F. Supp. 388, 396–97 (M.D. Pa. 1985) (noting that

“the information that is the subject of the protective order seriously

implicates privacy interests of third parties, i.e., the unindicted co-

conspirators.”), aff’d, 776 F.2d 1104 (3d Cir. 1985).

     In order to balance the need for the Government to provide

discovery materials to the defendants for use in defense with the need to


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protect the privacy interests of certain individuals, the Government

respectfully requests that the Court enter an order directing that all

discovery materials provided by the government be subject to the

conditions set forth in the proposed protective order. The entry of an

“umbrella” protective order governing all discovery in the case is

appropriate where, as here, the discovery is voluminous and the

defendants retain the ability to challenge whether a particular document

or other thing should not be designated confidential. Luchko, 2007 WL

1651139, at *10 (quoting Cipollone v. Liggett Group, Inc., 785 F.2d 1108,

1122 (3d Cir. 1986)).

     The proposed order limits the use and dissemination of discovery

material to preparation for trial, direct appeal, or collateral appeal in this

matter. The proposed order would not inhibit a defendant’s ability to

mount a vigorous defense, as it would freely permit a defendant to review

and share discovery with his or her attorneys, investigators, prospective

witnesses, and experts. In addition, the proposed order permits a

defendant to challenge whether particular discovery material should be

governed by the protective order by seeking consent from the

Government to exclude it from the proposed order’s coverage and, if the


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parties are unable to resolve any dispute about its use, then seeking relief

from the Court. The proposed order therefore strikes a reasonable

balance between the interests of the defendants and third parties.

     Finally, under the terms of the proposed order, each defendant is

required to return all discovery materials to his or her counsel promptly

upon the conclusion of all district court proceedings, and each defense

counsel is then permitted to retain one copy of the discovery materials for

recordkeeping purposes. Following all trial and appellate proceedings, if

the need arises for a defendant to access or otherwise use discovery

material, the proposed order provides a way for that to occur. Specifically,

the proposed order requires that the defendant, through defense counsel,

provide notice to the Government prior to such use, and the Government

then has an opportunity to object to that use. If the parties are unable to

resolve a dispute about whether any discovery material may be used

following trial and appellate proceedings, the Government may then seek

relief from this Court prior to the defendant’s use of such material. In

this respect, the proposed order again strikes a reasonable balance

between the interests of the defendants and the interests of third parties.




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     WHEREFORE, for good cause and the reasons stated above, the

United States requests the court issue the proposed protective order

limiting the disclosure of the discovery materials in this case. The

defendants do not oppose this motion and the language set forth in the

proposed protective order.

                                   Respectfully submitted,


                                   GERARD M. KARAM
                                   UNITED STATES ATTORNEY

Dated: July 9, 2024          By:   /s/ Phillip J. Caraballo
                                   Phillip J. Caraballo
                                   Assistant U.S. Attorney
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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               :
                                       :        No. 3:24-CR-158
           v.                          :
                                       :        (Munley, J.)
JAMES MAHON IV and                     :
JOEL GILLICK,                          :
                Defendants             :

                  CERTIFICATE OF CONCURRENCE

     I, Phillip J. Caraballo, Assistant United States Attorney, have

contacted counsel for defendant James Mahon IV, Dennis E. Boyle,

Esq., and counsel for defendant Joel Gillick, Joseph R. D’Andrea, Esq.,

who concur in Motion for Protective Order.


                                           Respectfully submitted,

                                           GERARD M. KARAM
                                           UNITED STATES ATTORNEY

Dated: July 9, 2024                        /s/ Phillip J. Caraballo
                                           Phillip J. Caraballo
                                           Assistant U.S. Attorney
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               MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA               :
                                       :        No. 3:24-CR-158
          v.                           :
                                       :        (Munley, J.)
JAMES MAHON IV and                     :
JOEL GILLICK,                          :
                Defendants             :

                     CERTIFICATE OF SERVICE

      The undersigned hereby certifies that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania and is a person of such age and discretion as to be
competent to serve papers. That on July 9, 2024, she served a copy of
the attached

    CONSENT MOTION FOR ENTRY OF PROTECTIVE ORDER

by ECF to Dennis E. Boyle, Esq., and Joseph R. D’Andrea, Esq., counsel
for the defendants.


                                           /s/ Stephanie Kakareka
                                           STEPHANIE KAKAREKA
                                           Legal Assistant
